            Case 2:20-cv-00452-RMP                   ECF No. 19          filed 06/08/21     PageID.179 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                                                              FILED IN THE
                                                                  for the_                                U.S. DISTRICT COURT
                                                     Eastern District of Washington                 EASTERN DISTRICT OF WASHINGTON


                CHARLES JOSEPH REEVIS,                                                               Jun 08, 2021
                                                                     )                                   SEAN F. MCAVOY, CLERK

                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-CV-00452-RMP
                                                                     )
                 NO NAMED DEFENDANT,
                                                                     )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Action is DISMISSED without prejudice for lack of subject matter jurisdiction.
’




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             ROSANNA MALOUF PETERSON                                          .




Date: 06/08/2021                                                            CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
